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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

DONNA DELOREY, an individual; PAUL                 Case No.:
DELOREY, an individual,
                                                   COMPLAINT FOR DAMAGES
                       Plaintiffs,
                                                      1. Fraud
vs.                                                   2. Negligence
                                                      3. Negligence Per Se
                                                      4. Breach of Warranty
ABBOTT LABORATORIES, a corporation,                   5. Strict Liability – Failure to Warn
ALERE INC., a corporation; ALERE HOME                 6. Strict Liability – Manufacturing & Design
MONITORING INC., a corporation; ALERE SAN             7. Unfair Competition Laws
DIEGO INC., a corporation; QUALITY                    8. Loss of Consortium
ASSURED SERVICES, INC., a corporation, , and
DOES 1 through 100,                          JURY TRIAL DEMANDED

                     Defendants.


          1.   Come now, DONNA DELOREY AND PAUL DELOREY (“Plaintiffs”) who

allege:

          2.   This action for product liability and fraud is against ABBOTT

LABORATORIES, (“Abbott”), and its wholly owned subsidiary ALERE, INC., ALERE

SAN DIEGO INC., ALERE HOME MONITORING INC., and QUALITY ASSURED

SERVICES, INC., (“the Alere defendants”), who are the designers, manufacturers,

promoters, distributors and/or sellers of the “INRatio PT/INR Monitors,” “INRatio PT/INR
Test Strips,” “INRatio2 PT/INR Monitors” and “INRatio2 PT/INR Test Strips” ( the

“INRatio Products”).

          3.   For patients taking anticoagulation medications (“blood-thinners”), the ability

to monitor and test their blood-clotting times and adjust their dosages accordingly is

essential. Failure to take the appropriate dosage of blood-thinners can result in serious

bodily injuries and death. Defendants’ INRatio Products are electronic testing devices

designed (at least in theory) to help patients who have been prescribed blood-thinners
monitor their blood-clotting times, to ensure they are receiving the proper dosage.
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       4.      Unbeknownst to consumers, almost immediately after the INRatio Products

became available to the public, Defendants learned that the INRatio Products produced

erroneous results. Defendants received numerous complaints from users and multiple

warning letters from the Food and Drug Administration (“FDA”), notifying them that the

results produced by the INRatio Products differed from those produced by independent

laboratories. Nevertheless, Defendants withheld material information from the public and

continued selling the INRatio Products unabated, marketing and advertising them to patients

and the medical community as an INR monitor which was “accurate,” “convenient,”

“effective,” “reliable,” “optimal” and “safe.” Contrary to Defendants’ representations, the

INRatio Products were not international normalized ratio monitors, nor were they

“accurate,” “convenient,” “effective,” “reliable,” “optimal” or “safe.”

       5.      Believing the results produced by a testing product like the INRatio Products

are accurate, as any reasonable patient would, patients of the INRatio Products (as well as

patients’ respective medical providers), relied on the erroneous results produced by the

INRatio Products and improperly adjusted their blood-thinner dosages, increasing the risk

and likelihood of serious bodily injury or death. Because of Defendants’ defective INRatio

Products and fraud, thousands of vulnerable and unsuspecting patients, including Plaintiffs,

have been seriously and permanently injured.
                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. There

is complete diversity of citizenship between the parties. In addition, Plaintiffs seeks

damages in excess of $75,000, exclusive of interest and costs.

       7.      This Court has personal jurisdiction over Abbott insofar as Abbott is

authorized and licensed to conduct business in the State of Rhode Island, maintains and

carries on systematic and continuous contacts in this judicial district, regularly transacts

business within this district, and regularly avails itself of the benefits of this judicial district.
       8.      This Court has personal jurisdiction over the Alere defendants insofar as said

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defendants are authorized and licensed to conduct business in the State of Rhode Island,

maintain and carry on systematic and continuous contacts in this judicial district, regularly

transact business within this district, and regularly avail themselves of the benefits of this

judicial district.

        9.      Additionally, all defendants caused tortious injury by acts and omissions in

this judicial district and caused tortious injury in this district by acts and omissions outside

this district while regularly doing and soliciting business, engaging in a persistent course of

conduct, and deriving substantial revenue from goods used or consumed and servives

rendered in this judicial district.

                                           PARTIES

        10.     Plaintiffs, DONNA DELOREY and PAUL DELOREY are residents of

Charlestown, Rhode Island and citizens of the State of Rhode Island.

        11.     Defendant, ABBOTT LABORATORIES, is an Illinois corporation with its

principle place of business in Abbott Park, Illinois. Upon information and belief, Abbott

Laboratories is the successor in interest to the Alere defendants by and through an

Agreement and Plan of Merger with Alere, Inc., which provided for the merger of a newly

formed wholly owned subsidiary of Abbott with and into Alere, Inc., with Alere Inc.,

surviving the merger as a wholly owned subsidiary of Abbott.
        12.     Defendant, ALERE, INC., at all relevant times, was a Delaware corporation

with its principle place of business in Waltham, Massachusetts. Alere, Inc., independently

and through its subsidiaries Defendant Alere San Diego, Inc., Defendant Alere Home

Monitoring, Inc., and Defendant Quality Assured Services, Inc., manufactured, marketed,

and sold medical diagnostic testing products (including the INRatio Products) for

professionals, patients and consumers around the country.

        13.     Defendant ALERE SAN DIEGO, INC., at all relevant times, was a Delaware

corporation doing business nationwide with its principle place of business in San Diego,
California. Alere San Diego, Inc., at all relevant times, was a wholly owned and controlled

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subsidiary of Alere, Inc. Defendant Alere San Diego, Inc. manufactured, marketed and sold

diagnostic testing products, including the INRatio Products.

       14.     Defendant ALERE HOME MONITORING, INC., at all relevant times, was a

Delaware corporation doing business nationwide with its principle place of business in

Livermore, California. At all relevant times, it was a wholly owned and controlled

subsidiary of Defendant Alere, Inc. who assisted patients, in Rhode Island and nationwide,

in acquiring the INRatio Products and provides physicians with the necessary tools to allow

them to integrate the patient self-testing undertaken with the INRatio Products into their

practices.

       15.     The Alere defendants designed, manufactured, promoted, sold and distributed

the INRatio products at issue. In 2015, Alere, Inc. reported revenue of $2.4 billion and

generated over $1.3 billion in gross profits.

       16.     The INRatio system was originally manufactured by HemoSense, Inc.

(HemoSense), a corporation with its principle place of business in San Jose, California.

HemoSense received FDA approval for the INRatio PT/INR Monitors and INRatio PT/INR

Test Strips in 2002, and commercial sales began in 2003. In August of 2007, HemoSense

was purchased by Alere, Inc. (then known as Inverness Medical Innovations, Inc.). In 2008,

HemoSense transferred its operations to Alere, Inc.’s facility in San Diego, California.
HemoSense’s operations then merged into the Alere San Diego corporate entity.

       17.     The true names and capacities, whether individual, corporate, associate, or

otherwise, of the defendants named herein, under the fictitious names of DOES 1 through

100, inclusive, are either unknown to Plaintiffs or, alternatively, the fact of their liability is

unknown by Plaintiffs, who, therefore, sue said defendants by such fictitious names.

Plaintiffs are informed and believe, and thereon allege, that each defendant designated

herein as a DOE caused injuries and damages proximately thereby to Plaintiffs as

hereinafter alleged; and that each DOE Defendant is liable to the Plaintiffs for the acts and
omissions alleged herein below, and the resulting injuries to Plaintiffs, and damages

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sustained by the Plaintiffs. Plaintiffs may amend this Complaint to allege the true names and

capacities of said defendants when the same has been ascertained or when the fact of their

respective liability has been established.

       18.    Defendants Alere, Inc., Alere Home Monitoring, Inc., Alere San Diego, Inc.

and DOES 1 through 100 are collectively referred to herein as “Alere” or “Defendants.”

       19.    At all relevant times, Defendants’ officers and directors authorized, directed,

ratified, and/or participated in the conduct alleged herein when they knew, or with the

exercise of reasonable care should have known, of the hazards and dangerous propensities

of their tortious conduct and concealment and thereby actively participated in tortious

conduct, which resulted in the physical injuries described herein.

       20.    There exists, and at all times herein mentioned, there existed, a unity of

interest in ownership between certain Defendants and other certain Defendants such that any

individuality and separateness between the certain Defendants has ceased and these

Defendants are the alter ego of the other certain Defendants, and exerted control over those

Defendants. Adherence to the fiction of the separate existence of these certain Defendants as

any entity distinct from other certain Defendants would permit an abuse of the corporate

privilege, would sanction fraud, and would promote injustice.

       21.    Plaintiffs are informed and believe, and based thereon allege, that at all
material times herein, Defendants and each of them, and their owners, aggregates, corporate

associates and partners, were the agent, servant, employee, assignee, permissive user,

successor in interest or joint venture of each other, and were acting within the time, purpose,

scope, and course of said agency, service, or employment, and with the express or implied

knowledge, permission, and consent of the other Defendants, and ratified and approved the

acts of the other Defendants

       22.    Whenever in this Complaint reference is made to any act, deed, or conduct of

Defendants committed in connection with wrongful acts alleged, the allegation means that
Defendants engaged in the act, deed, or conduct by or through one or more of their officers,

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directors, agents, employees or representatives, each of whom was actively engaged in the

management, direction, control or transaction of the ordinary business and affairs of

Defendants

                                      FACTUAL ALLEGATIONS

          A.      The International Normalized Ratio (“INR”)

          23.     The International Normalized Ratio (“INR”) is a standardized metric used to

determine the relative speed at which blood clots in a patient’s body. A patient’s INR is

calculated by comparing a patient’s prothrombin time (the speed at which the patient’s

blood clots) against the normal mean prothrombin time (the average speed for blood clotting

in the general population). The resulting contrast between a patient’s prothrombin time and

the normal mean prothrombin time is the patient’s INR. For example, a patient whose

blood-clotting time is double that of the average person’s blood-clotting time will have an

INR of 2.0.

          24.     The INR is a measurement for doctors and patients to monitor the blood-

clotting speed for patients who have been prescribed anticoagulants (“blood thinners”) for

certain medical conditions, including but not limited to blood clots, or following the surgical

implantation of medical devices, including but not limited to heart valves. Doctors can use

the INR measurement to determine whether a patient should increase or decrease his/her
dosage of blood thinners.

          25.     It is essential for doctors and patients to be able to regularly measure a

patient’s INR and alter the blood-thinner dosage accordingly due to the serious health risks

associated with both high and low blood-clotting times. High INRs (indicating a relatively

slow blood-clotting time) can lead to excessive bleeding1, and generally indicates too high a

dosage of blood-thinners. Meanwhile, a low INR (indicating a relatively quick blood-

clotting time) can lead to strokes, and generally indicates too low a dose of blood-thinners.

1
    For example, it has been reported that in certain circumstances, the risk of intracranial hemorrhage
    increases approximately 2-fold for every 1unit rise in INR.
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In both cases, the consequences of having an irregular INR can lead to serious injury and

death. For these reasons, many patients who take blood thinners constantly monitor their

INRs to ensure they are receiving the proper dosage.

       B.     INRatio “INR Monitoring” System

       26.    Defendants developed and manufactured the “INRatio monitor,” a point-of-

care INR monitor that was designed to help patients who have been prescribed blood-

thinners, in particular warfarin, to monitor their INRs at home. Much like those devices

used by diabetic patients to monitor their blood-sugar levels, the INRatio monitor worked

by having patients insert a blood sample (via an INRatio test strip) into an electronic testing

device. The testing device, after analyzing the blood sample, would then reveal the INR

value via an electronic display.

       27.    The “INRatio monitor,” paired with the INRatio test strips, was known as the

“INRatio testing kit.”

       28.    Distribution of the INRatio testing kit for home use and commercial sales

began in 2003.

       29.    Eventually, the INRatio testing kit gave way to the “INRatio2” testing kit.

The INRatio2 testing kit operated similarly to its predecessor, pairing an electronic monitor

with corresponding test strips.
       C.     Defendants’ Knowledge of the INRatio Products’ Defective Qualities

       30.    Almost immediately after Defendants made the INRatio Products available to

the public, Defendants began receiving numerous complaints about the INRatio Products’

efficacy and accuracy. In particular, some consumers found that the INR results they were

getting when using the INRatio Products differed from the results they obtained when they

sent blood from the same samples to independent labs for testing. The deviations between

the INRatio Products’ test results and those of independent labs were “clinically

significant.” In most cases, the INRatio Products produced INR results that turned out to be



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incorrectly low, although in numerous other instances, the INRatio Products produced

results that were incorrectly high.

          31.     In 2007, a team of doctors in London conducted a study that tested five point-

of-care INR testing devices, the INRatio Products among them, for quality and reliability

(the “London study”). The doctors took blood samples from patients and determined the

patients’ INR values using the five point-of-care testing devices. The doctors then took

those same blood samples and sent them to an outside laboratory to obtain secondary INR

results. The study determined that among the five point-of-care devices tested, the INRatio

Products performed the worst, with results that deviated most significantly from the results

obtained through the outside laboratory.

          D.      Defendants’ Unlawful Failure to Properly Report and Respond to
                  Adverse Events

          32.     Upon information and belief, between 2002 and 2014, Defendants received

over 18,000 complaints concerning malfunctions with the INRatio Products, with three

deaths reported.

          33.     In May of 2005, following the receipt of numerous complaints concerning

Defendants’ INRatio systems, the FDA conducted an inspection of Defendants’ (then) San

Jose operations facility.
          34.     Following the inspection, the FDA sent a warning letter (“2005 Warning

Letter”) to Defendants admonishing them for their failure to file adverse event reports (also

known as MDR reports).2 The letter further labeled the INRatio PT/INR Monitors and


2
    21 CFR § 803.50(a) requires medical device manufacturers to file Medical Device Reporting reports
    (“MDR reports”) to the FDA within 30 days after they “receive or become aware of information, from
    any source, that reasonably suggests that a device [they] market: (1) [m]ay have caused or contributed to
    a death or serious injury; or (2) [h]as malfunctioned and this device or a similar device that [they]
    market would be likely to cause or contribute to a death or serious injury, if the malfunction were to
    recur.” Additionally, 21 U.S.C. § 360i(a)(1) requires device manufacturers to report to the FDA, in
    compliance with 21 CFR §803, when the manufacturer receives or otherwise becomes aware of
    information that reasonably suggests its product either caused a death or serious injury, or
    malfunctioned in a way such that a similar device would be likely to cause death or serious injury were
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INRatio PT/INR Test Strips as “misbranded” due to “a serious regulatory problem involving

INRatio Test Strips and INRatio Test Meters.”

       35.     The letter stated, “Our record indicates your firm had information indicating

that INRatio devices were generating clinically significant erroneous values.” More

importantly, the letter pointed out that, “[i]f the INR is too low, a patient will be prone to

blood clots or strokes. If the INR is too high, a patient will be prone to excessive bleeding.

Therefore, both high and low test results have the potential to cause or contribute to a death

or serious injury because they may result in erroneous dosing and thus improper control of

[clotting].”

       36.     The letter went on to cite specific complaints that had been received by

Defendants wherein the INRatio “provided discrepant results [compared] to lab results,” and

“[t]his indicates that your device failed to meet its performance specifications or otherwise

perform as intended, and therefore malfunctioned.” Further, “[a]ll of these erroneous

readings were clinically significant and were thus likely to lead to incorrect application of

[blood-thinner] therapy, with the likely health consequences already noted.

       37.     The letter concluded that the Defendants had failed to comply with the

Medical Device Reporting regulations because they did not file MDR reports within 30 days

of receiving the above-mentioned complaints. The letter further concluded that Defendants’

internal MDR procedure was inconsistent with all the terms of 21 CFR § 803. In particular,

Defendants’ internal MDR policy only treated complaints as reportable if an investigation

determined that “the device has caused or contributed to a death or serious injury.”

Meanwhile, 21 CFR § 803.50 requires manufacturers to submit MDRs when a device “may

have caused or contributed to a death.” In other words, the FDA concluded Defendants’

failure to submit MDRs to the FDA was the result of an unlawful systemic policy.



 the malfunction to recur. Further, under 21 U.S.C. § 352, any failure to comply with 21 CFR §
 803.50(a) and 21 U.S.C. § 360i (a)(1) will result in the device being deemed “misbranded.”
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       38.     From May 15, 2006 through July 13, 2006, investigators from the FDA

conducted another inspection of Defendants’ (then) San Jose facility.

       39.     On November 29, 2006, the FDA sent Defendants another warning letter

(“2006 Warning Letter”) faulting Defendants for numerous failures to comply with statutory

regulations.

       40.     The 2006 warning letter admonished Defendants, inter alia, for: (1) failing to

investigate complaints involving possible failures of devices to meet any of its

specifications; (2) failing to promptly review, evaluate and investigate complaints

representing events that are MDR reportable; and (3) failing to file MDRs with the FDA.

       41.     Despite the above admonishments from the FDA, and despite thousands of

complaints received concerning malfunctions that either caused or were likely to have

caused serious injuries or death (including three malfunctions which did, in fact, result in

deaths), Defendants failed to properly submit MDR reports to the FDA, failed to advise

consumers, Plaintiffs and the medical community of the FDA’s admonishments and the

defects plaguing the INRatio Products, and continued selling the INRatio Products unabated,

at all times falsely representing to consumers, Plaintiffs, and their respective medical

providers that the device was an INR monitor, which was safe, accurate, reliable and

effective, when such representations were, in fact, false.

       E.      Defendants’ Misrepresentations and Omissions Regarding the INRatio
               and INRatio2 Testing Kits

       42.     Defendants misrepresented that the INRatio testing kit was “accurate,”

 “convenient,” “effective,” “reliable,” “optimal” and “safe” in its marketing, advertising and

 promotional materials. Defendants made further misrepresentations to consumers and

 healthcare professionals by naming the monitor the “INRatio Monitor” and placing the

 words “INRatio Monitor” on the packaging, leading reasonable consumers and healthcare

 professionals to believe that the product safely, effectively and accurately monitored the
 users’ INRs, when in fact they produced false and erroneous results. Contrary to

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 Defendants’ representations, the INR Products were not INRatio Monitors because rather

 than “monitor” consumers’ International Normalized Ratio, the INRatio Products produced

 erroneous, unreliable results and effectively did not monitor anything.

       43.     Defendants made further misrepresentations to consumers and healthcare

 professionals by omitting material information from the packaging and marketing materials

 on the INRatio testing kit, in particular, by failing to disclose that the INRatio Products

 produced false and erroneous results.

       44.     Consistent with its predecessor, Defendants misrepresented to consumers and

 healthcare professionals in its marketing, advertising and promotional materials that the

 INRatio2 testing kit was “accurate,” “convenient,” “effective,” “reliable,” “optimal,” and

 “safe.”

       45.     Defendants made further misrepresentations to consumers and healthcare

 professionals by naming the monitor the “INRatio2 Monitor” and placing the words

 “INRatio2 Monitor” on the packaging, leading reasonable consumers and healthcare

 professionals to believe that the products safely, effectively, and accurately monitored the

 users’ INRs, when, in fact, rather than monitor consumers’ International Normalized Ratio,

 they produced false and misleading results.

       46.     Defendants made further misrepresentations to consumers and healthcare

 professionals by omitting material information from the packaging and marketing materials

 of the INRatio Products, in particular, by failing to disclose that the INRatio Products

 produced false and misleading results. In fact, the only reason a reasonable consumer

 would use the INRatio 2 testing kit is to obtain accurate, reliable, and safe results. A testing

 product that does not provide reliable results is worthless.

       47.     A true and correct copy of some of Defendants’ representations concerning

 the INRatio2 testing kit is as follows:




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       48.    Further, by falsely and misleadingly representing to consumers and healthcare

professionals that the INRatio Products were “accurate,” “convenient,” “effective,”

“reliable,” “optimal,” and “safe” in their marketing, advertising and promotional materials,

Defendants made a partial representation while suppressing material facts. In particular,

Defendants suppressed what they had known for years: the INRatio Products produce false

and erroneous results.

       49.    Further, by falsely and misleadingly representing to healthcare professionals

and consumers that the INRatio Products were “accurate,” “convenient,” “effective,”

“reliable,” “optimal,” and “safe” in their marketing, advertising and promotional materials,

Defendants actively concealed material information from healthcare professionals and

consumers. In particular, that the INRatio Products produced false and erroneous results.

       50.    Defendants further misled consumers and healthcare professionals by
withholding information exclusively known to them. In particular, Defendants knew the

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INRatio Products contained specific defects, including, but not limited to, defective software

and other defects that could be remedied with enhancements to the software. Defendants

also knew that these defects were the cause of the INRatio Products’ propensity for

producing false and erroneous results.

       51.    In fact, unbeknownst to consumers and healthcare professionals, Defendants

were conducting undisclosed studies to determine the effectiveness of their software

enhancements. Defendants suppressed and actively concealed the defects and the studies,

while simultaneously misrepresenting the INRatio Products to be International Normalized

Ratio “monitors” which were “accurate,” “convenient,” “effective,” “reliable,” “optimal,”

and “safe,” when in fact, the INRatio Products were anything but.

       52.    Additionally, by falsely and misleadingly representing to consumers and

healthcare professionals that the INRatio Products were “accurate,” “convenient,”

“effective,” “reliable,” “optimal,” and “safe” in their marketing, advertising, and

promotional materials while suppressing and actively concealing material information

(including information exclusively known to Defendants), Defendants prevented healthcare

professionals and consumers from making informed decisions regarding the use of the

INRatio Products. By preventing healthcare professionals from making informed decisions

regarding the use of the INRatio Products, Defendants altered and affected prescribing

physicians’ decisions concerning their patients’ use of the products.

       53.    Had Defendants disclosed the above material information, that the INRatio

Products contained specific defects that produced false and erroneous results and that

Defendants were fully aware of these defects and communicating with the FDA about these

defects and attempting to remedy them with software enhancements and studies, healthcare

providers would have been made aware of the defects and would not have prescribed the

INRatio Products to consumers. Similarly, consumers would have been made aware of the
defects by consulting with their informed healthcare providers and would not have

purchased or used the INRatio Products. Further, had Defendants disclosed that the INRatio
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Products contained specific defects that produced false and erroneous results, consumers,

including those who did not receive prescriptions, would have been made aware of the

defects and would not have purchased or used the INRatio Products.

       F.     Defendants’ Class 1 Recalls of the INRatio and INRatio2 Testing Kits
       54.    On April 16, 2014, Defendants issued a voluntary recall notice to healthcare

professionals for the INRatio2 test strips, citing the disparity between INR results obtained

with the INRatio2 system versus significantly higher INR results when re-testing was

performed by an independent laboratory. Defendants’ recall notice requested that customers

immediately cease using the INRatio2 PT/INR test strips and instead use alternate methods

to perform INR testing, including substituting INRatio PT/INR test strips for the defective

INRatio2 PT/INR test strips.

       55.    By singling out the INRatio2 PT/INR test strips in the April 16, 2014 recall

notice, Defendants made a partial representation while suppressing material facts. In

particular, the April 16, 2014 recall notice failed to disclose what Defendants had known for

years: the defective qualities of the INRatio Products were not limited to the INRatio2

PT/INR test strips. In fact, at the time Defendants issued the April 16, 2014 recall notice,

they well knew that the INRatio PT/INR Monitors, the INRatio2 PT/INR Monitors and the

INRatio PT/INR test strips produced false and erroneous results.
       56.    By directing users to substitute the INRatio PT/INR test strips for the

defective INRatio2 PT/INR test strips, Defendants falsely and misleadingly represented to

healthcare professionals and consumers that the INRatio PT/INR test strips performed

properly, when in fact they caused false and erroneous results.

       57.    In the April 16, 2014 recall notice, Defendants also failed to disclose that the

INRatio Products contained specific defects (including but not limited to defective software)

that produced false and erroneous results.

       58.    Further, by falsely and misleadingly representing to healthcare professionals
and consumers in the April 16, 2014 recall notice that the cause of the INRatio Products’

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defective qualities was limited to the INRatio2 PT/INR test strips, Defendants prevented

healthcare professionals and consumers from making informed decisions regarding the use

of the INRatio Products. Additionally, by falsely and misleadingly representing to

healthcare professionals and consumers that the cause of the INRatio Products’ defective

qualities was limited to the INRatio2 PT/INR test strips, Defendants altered and affected

prescribing physicians’ decisions concerning their patients’ use of the products.

       59.    Further, by falsely and misleadingly representing to healthcare professionals

and consumers in the April 16, 2014 recall notice that the cause of the INRatio Products’

defective qualities was limited to the INRatio2 PT/INR test strips, Defendants suppressed

and actively concealed material information, known exclusively by Defendants, from

healthcare professionals and consumers.

       60.    Making matters worse, numerous patients, including those who had received

prescriptions for the INRatio Products, never received the April 16, 2014 recall notice.

       61.    The FDA classified Defendants’ April 16, 2014 recall notice as a “Class 1”

recall because it involved the use of products that would cause serious adverse health

consequences or death.

       62.    On December 5, 2014, Defendants issued a “voluntary” recall letter to

customers for the INRatio PT/INR Monitor, INRatio2 PT/INR Monitor, and the INRatio
PT/INR Test Strips. The letter stated, “[i]n certain cases an INRatio® PT/INR Testing kit

may provide an INR result that is significantly lower than a result obtained using a

laboratory INR system.” However, the December 5, 2014 recall notice failed to state that the

INRatio Products themselves were defective. Instead, the notice falsely stated that the false

and erroneous results “can arise if [users] have certain medical conditions.” The notice also

blamed the false and erroneous results on the users’ failure to “carefully follow the

instructions for performing the test.”

       63.    Making matters worse, the notice did not instruct all users to cease altogether
using the INRatio Products. Instead, the notice instructed users to contact their doctors to

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determine if any of the relevant medical conditions applied to them. The notice also

instructed users to take certain precautions to reduce the risk of erroneous results associated

with the users’ alleged and asserted failure to carefully follow the instructions.

       64.    By issuing the December 5, 2014 recall notice that falsely and misleadingly

blamed the erroneous results on “certain medical conditions” and the failure to “carefully

follow the instructions”, Defendants made only a partial representation of the true defects of

the product while suppressing additional crucial, material facts. In particular, the December

5, 2014 recall notice failed to disclose what Defendants had known for years: the defective

qualities of the INRatio Products were not limited to certain medical conditions of users, or

failures to follow instructions carefully. In fact, at the time the December 5, 2014 recall

notice issued, Defendants knew that all of the INRatio Products produced false and

erroneous results, irrespective of the users’ medical conditions.

       65.    In the December 5, 2014 recall notice, Defendants also failed to disclose that

the INRatio Products contained specific defects (including, but not limited to, defective

software) that produced false and erroneous results and that Defendants were

communicating with the FDA about these defects and attempting to remedy them with

software enhancements and studies.

       66.    Further, by falsely and misleadingly representing to healthcare professionals
and consumers in the December 5, 2014 recall notice that the cause of the INRatio Products’

defective qualities was limited to “certain medical conditions” and the failure to “carefully

follow the instructions,” Defendants prevented healthcare professionals and consumers from

making informed decisions regarding the use of the INRatio Products. Additionally, by

falsely and misleadingly representing to healthcare professionals and consumers that the

cause of the INRatio Products’ defective qualities was limited to the “certain medical

conditions” and the failure to “carefully follow the instructions,” Defendants altered and

affected prescribing physicians’ decisions concerning their patients’ use of the products.



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       67.    Further, by falsely and misleadingly representing to healthcare professionals

and consumers that the cause of the INRatio Products’ defective qualities was limited to

“certain medical conditions” and the failure to “carefully follow the instructions” in the

December 5, 2014 recall notice, Defendants suppressed and actively concealed material

information from healthcare professionals and consumers.

       68.    Making matters worse, numerous patients, including those who had received

prescriptions for the INRatio Products, never received the December 5, 2014 recall notice.

       69.    The FDA classified Defendants’ December 5, 2014 recall notice as a “Class

1” recall because it involved the use of products that would cause serious adverse health

consequences or death.

       70.    Finally, on July 11, 2016, Defendants issued a recall notice withdrawing the

INRatio Products from the market. The recall notice stated that Defendants had spent at least

two years developing software enhancements to address the INRatio Products’ defective

qualities, but the FDA notified Defendants it believed the Defendants’ studies did not

adequately demonstrate the effectiveness of the software modification. The recall notice also

stated the FDA “advised” (i.e., required) Defendants to remove the INRatio Products from

the market.

       71.    Prior to the July 11, 2016 recall notice, Defendants never disclosed to

healthcare providers or consumers that the INRatio Products contained specific defects,

including but not limited to defective software and other specific defects which could be

remedied with enhancements to the software. Defendants also never previously disclosed

that these defects were the cause of the INRatio Products’ propensity for producing false

and erroneous results or that the Defendants had been conducting studies to determine the

effectiveness of their software enhancements.
       72.    The July 11, 2016 recall notice made no mention of “certain medical

conditions” or any failure to “carefully follow the instructions.” Instead, Defendants
abandoned those false and misleading claims and admitted what they had known since 2005:

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the INRatio Products simply do not work.

          G.     The ROCKET AF Trial3

          73.    The damage caused by the INRatio Products’ failures, Defendants’ unlawful

refusal to acknowledge or address those failures, and Defendants’ continued manufacturing,

marketing and selling of a dangerously defective product to unsuspecting consumers,

extended beyond the harm suffered by individual users.

          74.    In September of 2011, the New England Journal of Medicine published a

study later known as the “ROCKET AF trial.” The purpose of the ROCKET AF trial was to

compare the most commonly prescribed anticoagulant, warfarin, to a newer drug called

rivaroxaban (hereinafter by its trade name, “Xarelto”) to determine which drug was more

statistically effective in preventing strokes and embolisms.

          75.    As part of the methodology, some of the patient-participants were prescribed

Xarelto at a fixed dose (the “Xarelto group”), while others were prescribed warfarin at a

non-fixed dose (the “warfarin group”). The warfarin group adjusted their dosage based on

their INR values, which they were instructed to keep between 2.0 and 3.0. In other words,

the warfarin group would constantly monitor their INRs and take whatever dosage of

warfarin was necessary to keep their INR values within the appropriate range.

          76.    The study determined Xarelto to be “noninferior” to warfarin, and the findings

ultimately led to Xarelto’s FDA approval.

          77.    Following the April 16, 2014 and December 5, 2014 recalls of the INRatio

Products, it was revealed that the warfarin group in the ROCKET AF study had used the

INRatio Products to monitor their INR values and adjust their dosages accordingly.

          78.    The revelation that the results of the ROCKET AF study were premised, in

part, on data collected from individuals using the INRatio Products has called the entire


3
    ROCKET AF being an acronym for “Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition
    Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial
    Fibrillation.
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study into question. A comparison of blood samples from over 5,000 of the ROCKET AF

participants revealed that the INR data collected using the INRatio Products differed from

the test results obtained from a third-party laboratory. Johnson & Johnson, makers of

Xarelto, turned over the data from the ROCKET AF study to Alere.

       79.     According to Sidney Wolfe, M.D., founder of the Public Citizen Health

Research Group, and F.R. Rosendaal, M.D., Ph.D., chair of the Department of Clinical

Epidemiology at Lieden University Medical Center, Lieden University, in evaluating the

ROCKET AF study and the subsequent revelations relating to the INRatio test results,

“[n]othing could more adversely impact the validity of monitoring warfarin’s blood-thinning

effectiveness . . . than false readings -- whether too high or too low -- generated by the

testing device used to monitor the degree of blood thinning (the INR).”

     TOLLING OF THE STATUE OF LIMITATIONS AND DISCOVERY RULE
       80.     Any applicable statutes of limitations have been tolled by Defendants’

knowing and active concealment of the information and their misleading actions, as alleged

herein. Without any fault or lack of diligence on their part, plaintiffs were kept ignorant of

critical information required for the prosecution of their claims. Plaintiffs could not

reasonably have discovered the true nature of the Defendants’ defective and fraudulently

promoted INRatio Products.
       81.     Defendants knowingly, affirmatively, and actively concealed the true

character, quality, and nature of their INRatio Products. In particular, Defendants

deliberately flaunted the Title 21 regulations requiring them to report the INRatio Products

serious and life-threatening malfunctions to the FDA. Plaintiffs reasonably relied upon

Defendants’ knowing, affirmative, and active concealment of the truth about the INRatio

Products. Based on the foregoing, Defendants are estopped from relying on any statutes of

limitation as a defense in this action.

       82.     Defendants’ failure to document or follow up on the known defects of its
products, and concealment of known defects, serious increased risks, dangers, and

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complications, constitutes fraudulent concealment that equitably tolls any proffered statute

of limitation that may otherwise bar the recovery sought by Plaintiffs herein.

       83.     Defendants are estopped from relying on any statute of limitations defense

because they continued to refute and deny reports and studies questioning the safety of their

INRatio Products, actively and intentionally concealed the defects, suppressed reports and

adverse information, failed to satisfy FDA requirements, failed to satisfy FDA notification

requirements, and failed to disclose known dangerous defects and serious increased risks

and complications to physicians and consumers, including the Plaintiffs herein.

       84.     Instead, Defendants continued to represent the INRatio Products as safe,

accurate, and reliable, yet all the while they knew that this was absolutely false and untrue.

       85.     Defendants did the above acts, which were and are illegal under state and

federal law, to encourage medical providers and Plaintiffs, to prescribe and use,

respectively, their INRatio Products.

       86.     At all relevant times, Defendants were under a continuing duty under state

and federal law to disclose the true character, quality, and nature of the increased risks

associated with their INRatio Products.

       87.     Because of Defendants’ concealment of the true character, quality, and nature

of their products, they are estopped from relying on any statute of limitations defense.
       88.     Defendants furthered their fraudulent concealment through acts and

omissions, including misrepresenting known dangers and/or defects of their INRatio

Products, and continued and systematic failure to disclose and/or cover-up such information

from/to the Plaintiffs, Plaintiffs’ physicians, and the public.

       89.     Defendants’ acts and omissions, before, during and/or after the act causing

Plaintiffs’ injury prevented Plaintiffs from discovering the injury or cause thereof until

recently.

       90.     The first time that Plaintiffs knew or could have reasonably known that their
respective injuries were caused by the wrongful conduct of a third party was when, in July

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2016, Defendants, following mandatory instructions by the FDA, issued a recall of the Alere

INRatio Products and removed all said products from the market. This was the first time

that Defendants informed the public and the medical community that the Alere INRatio

Products contained fundamental software defects and were defective for all conditions and

uses, and that --- contrary to previous statements --- the erroneous readings were not caused

by user error but, instead, resulted from intrinsically defective devices.

       91.    Defendants’ conduct, because it was purposely committed, was known or

should have been known by them to be dangerous, heedless, reckless, and without regard to

the health consequences to or the rights and safety of the Plaintiffs.

       92.    Plaintiff Donna Delorey suffers from a medical condition that requires her to

 take warfarin (trade name “Coumadin”). As a result, Mrs. Delorey needs to monitor her

 INR values carefully.

       93.    In approximately 2009, Mrs. Delorey began monitoring her blood clotting

 times using the Alere INRatio 2 Monitor. Mrs. Delorey reported her readings to her

 primary care physician. On or around December 2014, Mrs. Delorey suffered aortic valve

 complications and anemia.

       94.    Plaintiff relied on Defendants’ misrepresentation that one of the INRatio

 products was an “INRatio Monitor,” which caused Plaintiff to believe the INRatio Products

 would allow her to safely and accurately monitor her INR values. Were it not for this

 misrepresentation, Plaintiff would not have purchased and/or used the INRatio Products.

 Further, had Plaintiff known that Defendants were omitting, suppressing and actively

 concealing material information, in particular, that Defendants knew their INRatio Products

 produced erroneous INR results, Plaintiff would not have used the INRatio Products. Had

 Defendants disclosed the above material information, Plaintiff would not have used the

 INRatio Products. Had Defendants disclosed that the INRatio Products contained specific
 defects that produced false and erroneous results, Plaintiff would not have used the

 products. Had Defendants timely removed the Alere INRatio Products from the market,
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 Plaintiff would not have been able to use the defective devices and would not have been

 exposed to the risks and injuries caused by the defective devices.

       95.    Upon information and belief, Mrs. Delorey’s injuries occurred because of a

 defect in the Alere INRatio Products, which returned significantly inaccurate INR results,

 which in turn prevented her medical providers from prescribing a safe and effective dosage

 of Coumadin in a timely manner and caused her to suffer the injuries described herein.

       96.    Plaintiff Paul Delorey is the husband of Plaintiff Donna Delorey and brings a

 claim for loss of consortium.

                                   CAUSES OF ACTION

                                 FIRST CAUSE OF ACTION

                                           FRAUD

       97.    Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       98.    As a medical device company, the Alere Defendants had an affirmative

continuing duty to warn the public and medical community regarding inefficacy and risks

they knew, learned or should have known were associated with their medical devices and

products.

       99.    Defendants knowingly and deliberately falsely marketed the INRatio Products

as “accurate,” “convenient,” “effective,” “reliable,” “optimal” and “safe” when they knew

the INRatio Products were anything but. Meanwhile, Defendants actively concealed and

suppressed material facts, namely, that the INRatio Products produced false and erroneous

data concerning blood-clotting times, causing consumers to improperly adjust their blood-

thinner dosages and increase the risk and likelihood of serious bodily injury and death.

       100.   Plaintiffs and their respective medical providers who prescribed and/or

recommended the INRatio Products, justifiably relied on the reasonable expectation that
Defendants would act in compliance with the law, which included disclosing material facts

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concerning the false and erroneous data produced by the INRatio Products as well as

marketing and promoting the INRatio Products honestly and ethically.

       101.   Had the true nature of Defendants’ INRatio Products been disclosed to

Plaintiffs and their respective medical providers, they would not have purchased,

recommended for purchase, or sued the INRatio Products, nor would they have relied on

them for blood anticoagulation monitoring.

       102.   Had Defendants disclosed the above material information, that the INRatio

Products contained specific defects that produced false and erroneous results, healthcare

providers would have been made aware of the defects and would not have prescribed and/or

recommended the INRatio Products to consumers, including Plaintiffs. Similarly, Plaintiffs

would have been made aware of the defects by consulting with their informed healthcare

providers and would not have purchased and/or used the INRatio Products. Further, had

Defendants disclosed that the INRatio Products contained specific defects that produced

false and erroneous results, Plaintiffs, including those with or without prescriptions, would

have been made aware of the defects and would not have purchased and/or used the INRatio

Products.

       103.   Had Defendants more timely removed the INRatio Products from the market

(which they eventually did in July 2016), in lieu of downplaying the risks, delaying the

public’s ability to learn of the defective nature of the devices, and blaming false readings on

user error, the defective INRatio Products would not have been available to Plaintiffs for

purchase and Plaintiffs could have used other safer alternative devices or methods to

properly monitor their INR levels.

       104.   Defendants knew their concealment and suppression of materials facts was

false and misleading, they were fully aware that their promotional and marketing materials

contained false and misleading statements, and they were fully aware that the promotional
and marketing materials would be relied upon by consumers when deciding to purchase

and/or use the INRatio Products.
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       105.   Plaintiffs would not have purchased and/or used the INRatio Products, nor

would they have relied on them for blood monitoring, had it not been for Defendants’ delay

in removing the devices from the market and concealment of material facts and false and

misleading statements contained in their promotional materials, marketing materials and

packaging.

       106.   Plaintiffs and their respective medical providers justifiably relied upon

Defendants’ knowing, affirmative, and active concealment. By concealing material

information, Defendants intended to induce medical providers to prescribe INRatio Products

and induce patients, such as Plaintiffs, to purchase and/or use the INRatio Products.

       107.   Defendants also made partial representations while suppressing and actively

concealing material facts. Defendants also improperly named and described certain INRatio

Products as “INRatio Monitors,” leading healthcare professionals and consumers to

reasonably believe the INRatio Products allowed users to safely and reliably monitor their

INR values. Additionally, in their recall notices, Defendants falsely represented to

consumers that the cause of the defective qualities of the INRatio Products was limited to

the INRatio2 PT/INR test strips, as well as “certain medical conditions” and the failure to

“carefully follow the instructions.”

       108.   Defendants’ conduct is malicious, fraudulent, and wanton, and Defendants

intentionally mislead and actively concealed material information from consumers in order

to increase the sales of the INRatio Products.

       109.   At all times herein mentioned, the actions of the Defendants, their agents,

servants, and/or employees were wanton, grossly negligent, and reckless and demonstrated a

complete disregard and reckless indifference to the safety and welfare of Plaintiffs in

particular, and to the public generally, in that Defendants did willfully and knowingly

promote and continued to sell and distribute the Alere INRatio Products with the specific
knowledge that the devices were defective, provided inaccurate INR results and that said

defect could seriously and fatally endanger the lives of all patients/users of the Alere
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INRatio Products, including Plaintiffs.

       110.    At all times relevant herein, the Defendants’ conduct was malicious,

fraudulent, and oppressive toward Plaintiffs in particular and the public generally, and

Defendants conducted themselves in a willful, wanton, and reckless manner.

       111.    The Defendants’ aforementioned conduct, misrepresentations and

concealment of the above material facts were a substantial factor and a direct, legal and

concurrent cause of Plaintiffs’ injuries and damages, as described herein.

       112.    In doing the things aforementioned, the Defendants are guilty of malice,

oppression, fraud, and a wanton and willful disregard of persons/patients (such as Plaintiffs)

who forseeably might be harmed, and Plaintiffs are therefore entitled to recovery of

exemplary or punitive damages in a sum according to proof at trial.

       113.    As a direct and proximate result of the acts and conduct of the Defendants,

Plaintiffs have been injured in their health, strength and activity, and have suffered, continue

to suffer and, on information and belief, will suffer indefinitely into the future, severe,

lasting and debilitating physical and mental pain and suffering, disability, physical

impairment, inconvenience, grief, anxiety, loss of enjoyment of life, humiliation, and

emotional distress, some of which injuries may be permanent, all in an amount in excess of

the jurisdictional minimum of the Court.

       114.    As a further direct and proximate result of the acts and conduct of the

Defendants, Plaintiffs have lost earnings and earning capacity, and will continue to incur

such losses for an indefinite period in the future, and some of which losses may be

permanent, all in an amount in excess of the jurisdictional minimum of the Court.

       115.    As a further direct and proximate result of the acts and conduct of the

Defendants, and each of them, Plaintiffs have incurred medical, hospital and related

expenses, and on information and belief, will continue to incur such expenses in the future,
all in an amount in excess of the jurisdictional minimum of the Court.

                              SECOND CAUSE OF ACTION
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                                        NEGLIGENCE

       116.    Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       117.    As a medical device company, Defendants had an affirmative continuing duty

to warn Plaintiffs and/or their medical providers about the dangers associated with the

defective Alere INRatio Products, which they knew, or in the exercise of ordinary care

should have known, regarding inefficacy and risks associated with their medical device and

products.

       118.    Defendants had a confidential and special relationship with Plaintiffs due to

Defendants’ vastly superior knowledge of the efficacy and safety risks relating to the Alere

INRatio Products.

       119.    As a result, Defendants had an affirmative duty to fully and adequately warn

Plaintiffs and Plaintiffs’ physicians of the true defects, health risks and lack of efficacy

associated with the Alere INRatio Products. Independent of any special relationships of

confidence or trust, Defendants had a duty not to conceal the true dangers, defects and risks

of the Alere INRatio Products from Plaintiffs and Plaintiffs’ medical providers.

       120.    Misrepresentations made by Defendants about the efficacy and safety of the

Alere INRatio Products independently imposed a duty upon Defendants to fully and

accurately disclose to Plaintiffs and Plaintiffs’ physicians the true risks and defects of the

Alere INRatio Products.

       121.    Through the conduct described in the foregoing and subsequent paragraphs of

this Complaint, Defendants breached their duties to Plaintiffs and to Plaintiffs’ physicians.

       122.    The following sub-paragraphs summarize, among others, Defendants’

breaches of duties and describe categories of acts or omissions constituting breaches of duty

by Defendants:
               a.     Negligently, carelessly and recklessly falsely marketing the INRatio

                      Products as “accurate,” “convenient,” “effective,” “reliable,”
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                  “optimal,” and “safe” when they knew the INRatio Products were

                  anything but;

            b.    Negligently, carelessly and recklessly failing to timely disclose to

                  physicians and patients (including Plaintiffs) that the INRatio Products

                  were defective and provided false INR readings;

            c.    Negligently, carelessly and recklessly failing to timely disclose that the

                  INRatio Products, including the Monitoring Systems had software

                  glitches and defects that caused the devices to deliver inaccurate INR

                  results to patients and doctors;

            d.    Negligently, carelessly and recklessly failing to adequately design the

                  INRatio Products;

            e.    Negligently, carelessly and recklessly failing to adequately research

                  and test the INRatio Products;

            f.    Negligently, carelessly and recklessly failing to timely disclose to the

                  FDA, the public and physicians, adverse events associated with the

                  INRatio Products;

            g.    Negligently, carelessly and recklessly failing to ensure that warning

                  notices and recall letters timely reached all patients and consumers;

            h.    Negligently, carelessly and recklessly failing to timely remove the

                  INRatio Products from the market;

            i.    Negligently, carelessly and recklessly violating applicable state and

                  federal statutes, regulations and guidelines relating to the development,

                  promotion, marketing, testing, and pharmacovigilance of medical

                  devices, including but not limited to the United States Food, Drug &

                  Cosmetic Act and the California Sherman Food, Drug & Cosmetic
                  Act, including for example: 21 U.S.C §§ 301 et seq; 21 U.S.C §331; 21

                  U.S.C §333; 21 U.S.C §351; 21 U.S.C §352; 21 U.S.C §360; 21 U.S.C
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                      §360i; 21 U.S.C §360j; 21 C.F.R. §§801 et. seq; 21 C.F.R. §801.4; 21

                      C.F.R. §801.5;    21 C.F.R. §§803 et. seq.; 21 C.F.R. §803.50; 21

                      C.F.R. §§820.1 et. seq; 21 C.F.R. §820.3; 21 C.F.R. §820.5; 21 C.F.R.

                      §820.3; 21 C.F.R. §820.198; CAL. HEALTH & SAFETY CODE § 111445;

                      CAL. HEALTH & SAFETY CODE § 111260; CAL. HEALTH & SAFETY

                      CODE § 111295; and CAL. HEALTH & SAFETY CODE § 111300; and



               j.     Negligently, carelessly and recklessly failing to act as a reasonably

                      prudent device manufacturer and distributor.

       123.    As a direct and proximate result of the acts and conduct of the Defendants,

Plaintiffs have been injured in their health, strength and activity, and have suffered, continue

to suffer and, on information and belief, will suffer indefinitely into the future, severe,

lasting and debilitating physical and mental pain and suffering, disability, physical

impairment, inconvenience, grief, anxiety, loss of enjoyment of life, humiliation, and

emotional distress, some of which injuries may be permanent, all in an amount in excess of

the jurisdictional minimum of the Court.

       124.    As a further direct and proximate result of the acts and conduct of the

Defendants, Plaintiffs have lost earnings and earning capacity, and will continue to incur

such losses for an indefinite period in the future, and some of which losses may be

permanent, all in an amount in excess of the jurisdictional minimum of the Court.

       125.    As a further direct and proximate result of the acts and conduct of the

Defendants, and each of them, Plaintiffs have incurred medical, hospital and related

expenses, and on information and belief, will continue to incur such expenses in the future,

all in an amount in excess of the jurisdictional minimum of the Court.

                                THIRD CAUSE OF ACTION
                                   NEGLIGENCE PER SE


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       126.   Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       127.   Defendants violated applicable state and federal statutes, regulations and

guidelines relating to the development, promotion, marketing, testing, and

pharmacovigilance of medical devices. The federal and state statutes and regulations that

Defendants violated include the United States Food, Drug & Cosmetic Act and the

California Sherman Food, Drug & Cosmetic Act, including but not limited to: 21 U.S.C §§

301 et seq; 21 U.S.C §331; 21 U.S.C §333; 21 U.S.C §351; 21 U.S.C §352; 21 U.S.C §360;

21 U.S.C §360i; 21 U.S.C §360j; 21 C.F.R. §§801 et. seq; 21 C.F.R. §801.4; 21 C.F.R.

§801.5; 21 C.F.R. §§803 et. seq.; 21 C.F.R. §803.50; 21 C.F.R. §§820.1 et. seq; 21 C.F.R.

§820.3; 21 C.F.R. §820.5; 21 C.F.R. §820.3; 21 C.F.R. §820.198; CAL. HEALTH & SAFETY

CODE § 111445; CAL. HEALTH & SAFETY CODE § 111260; CAL. HEALTH & SAFETY CODE §

111295; and CAL. HEALTH & SAFETY CODE § 111300.

       128.   The Defendants’ violation of the above statues, many of which relate to,

among other things, the sale, marketing, promotion and pharmacovigilance of medical

devices was a substantial factor and a direct, legal and concurrent cause of Plaintiffs’

injuries and damages, as described herein.

       129.   Plaintiffs’ injuries resulted from an occurrence the laws and regulations were

designed to prevent.

       130.   Plaintiffs were among the class of persons whom these statutes and

regulations were meant to protect.

       131.   Defendants’ violation of these statutes or regulations constitute negligence per

se.

                              FOURTH CAUSE OF ACTION

                                BREACH OF WARRANTY
       132.   Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.
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       133.   Defendants knowingly and deliberately falsely marketed the INRatio Products

as “accurate,” “convenient,” “effective,” “reliable,” “optimal,” and “safe” when they knew

the INRatio Products were anything but. Meanwhile, Defendants actively concealed and

suppressed material facts, namely, that the INRatio Products produced false and erroneous

data concerning blood-clotting times, causing patients to improperly adjust their blood-

thinner dosages and increase the risk and likelihood of serious bodily injury and death.

       134.   Upon information and belief, Plaintiffs and/or their respective medical

providers relied upon Defendants’ express warranty representations regarding the safety and

efficacy of the Alere INRatio Products.

       135.   The breach of Defendants’ warranties was a substantial factor and a direct,

legal and concurrent cause of Plaintiffs’ injuries and damages, as described herein.

                                FIFTH CAUSE OF ACTION

                     STRICT LIABILITY – FAILURE TO WARN

       136.   Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       137.   At all relevant times herein, Defendants manufactured, distributed, promoted,

marketed and/or sold the Alere INRatio Products to Plaintiffs.

       138.    At all relevant times herein, the Alere INRatio Products did not contain
sufficient instructions or warnings concerning defects for reasonable foreseeable uses that

were known to Defendants but not recognizable to medical providers and patients.

       139.    At all relevant times herein, Defendants knew that the Alere INRatio

Products was defective, had software issues and provided erroneous INR readings to

consumers and that said defects presented a substantial danger to patients. Nevertheless,

Defendants failed to provide adequate warnings and knowing that the defects were

incurable, failed to timely withdraw the Alere INRatio Products from the market.




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       140.    Plaintiffs would not have purchased the INRatio Products, nor would they

have relied on them for blood monitoring, had it not been for Defendants’ delay in removing

the devices from the market and/or concealment of material facts and false and misleading

statements contained in their marketing materials and packaging.

       141.    Plaintiffs and their respective medical providers justifiably relied upon

Defendants’ knowing, affirmative, and active concealment. By concealing material

information, Defendants induced Plaintiffs’ medical providers to prescribe the Alere

INRatio Products, and/or induced Plaintiffs into purchasing and using the INRatio Products.

       142.    The Defendants’ aforementioned conduct, misrepresentations and

concealment of the above material facts was a substantial factor and a direct, legal and

concurrent cause of Plaintiffs’ injuries and damages, as described herein.

       143.    As a direct and proximate result of the acts and conduct of the Defendants,

Plaintiffs have been injured in their health, strength and activity, and have suffered, continue

to suffer and, on information and belief, will suffer indefinitely into the future, severe,

lasting and debilitating physical and mental pain and suffering, disability, physical

impairment, inconvenience, grief, anxiety, loss of enjoyment of life, humiliation, and

emotional distress, some of which injuries may be permanent, all in an amount in excess of

the jurisdictional minimum of the Court.

       144.    As a further direct and proximate result of the acts and conduct of the

Defendants, Plaintiffs have lost earnings and earning capacity, and will continue to incur

such losses for an indefinite period in the future, and some of which losses may be

permanent, all in an amount in excess of the jurisdictional minimum of the Court.

       145.    As a further direct and proximate result of the acts and conduct of the

Defendants, and each of them, Plaintiffs have incurred medical, hospital and related

expenses, and on information and belief, will continue to incur such expenses in the future,
all in an amount in excess of the jurisdictional minimum of the Court.


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       146.    In doing the things aforementioned, the Defendants are guilty of malice,

oppression, fraud, and a wanton and willful disregard of persons/patients (such as Plaintiffs)

who foreseeably might be harmed, and Plaintiffs are therefore entitled to recovery of

exemplary or punitive damages in a sum according to proof at trial.

                                SIXTH CAUSE OF ACTION

         STRICT LIABILITY – MANUFACTURING AND DESIGN DEFECT
       147.    Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       148.    At all relevant times herein, Defendants manufactured, distributed, promoted,

marketed and/or sold the Alere INRatio Products to Plaintiffs.

       149.    At all relevant times herein, the Alere INRatio Products contained design and

manufacturing defects that were known to Defendants but not recognizable to medical

providers and patients. As alleged herein, said defects included, inter alia, the Alere

INRatio Products failure to provide accurate INR readings to patients and consumers,

including Plaintiffs.

       150.    At all relevant times herein, Defendants knew that the Alere INRatio

Products was defective, had software defects, and provided erroneous INR readings to

consumers and that said defects presented a substantial danger to patients. Nevertheless,
Defendants failed to adequately remedy these defects, and knowing that the defects were

incurable, failed to timely withdraw the Alere INRatio Products from the market.

       151.    Plaintiffs would not have purchased the INRatio Products, nor would they

have relied on them for blood monitoring, had it not been for Defendants’ delay in removing

the devices from the market and/or concealment of material facts and false and misleading

statements contained in their marketing materials and packaging.

       152.    Plaintiffs and their respective medical providers justifiably relied upon

Defendants’ knowing, affirmative, and active concealment. By concealing material
information, Defendants induced Plaintiffs’ medical providers to prescribe the Alere

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INRatio Products, and/or induced Plaintiffs into purchasing and using the INRatio Products.

       153.    The Defendants’ aforementioned conduct, misrepresentations and

concealment of the above material facts was a substantial factor and a direct, legal and

concurrent cause of Plaintiffs’ injuries and damages, as described herein.

       154.    As a direct and proximate result of the acts and conduct of the Defendants,

Plaintiffs have been injured in their health, strength and activity, and have suffered, continue

to suffer and, on information and belief, will suffer indefinitely into the future, severe,

lasting and debilitating physical and mental pain and suffering, disability, physical

impairment, inconvenience, grief, anxiety, loss of enjoyment of life, humiliation, and

emotional distress, some of which injuries may be permanent, all in an amount in excess of

the jurisdictional minimum of the Court.

       155.    As a further direct and proximate result of the acts and conduct of the

Defendants, Plaintiffs have lost earnings and earning capacity, and will continue to incur

such losses for an indefinite period in the future, and some of which losses may be

permanent, all in an amount in excess of the jurisdictional minimum of the Court.

       156.    As a further direct and proximate result of the acts and conduct of the

Defendants, and each of them, Plaintiffs have incurred medical, hospital and related

expenses, and on information and belief, will continue to incur such expenses in the future,
all in an amount in excess of the jurisdictional minimum of the Court.

                              SEVENTH CAUSE OF ACTION

                   VIOLATION OF UNFAIR COMPETITION LAWS
       157.    Plaintiffs incorporate by reference in this claim for relief each allegation of

the preceding paragraphs, with the same force and effect as though fully set forth herein.

       158.    Rhode Island consumer protection law prohibits unfair trade practices. For the

reasons described above, Defendants have engaged in unfair or fraudulent business acts or

practices in violation of consumer protection laws.



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          159.   Defendants misrepresentations and omissions of material facts, as set forth

herein, constitute and unlawful practice because they violate Rhode Island’s applicable

consumer protection law as well as the Federal Food Drug and Cosmetic Act sections and

California Sherman Food Drug and Cosmetic Act sections delineated in the Third Cause of

Action (Negligence Per Se), supra.

          160.   Defendants’ conduct offends public policy and is immoral, unethical,

oppressive, unscrupulous and substantially injurious to consumers. Any justification for

Defendants’ practices is outweighed by the consequences and harm to Plaintiffs.

          161.   There were reasonable alternatives available to Defendants to further

Defendants’ legitimate business interests, other than the conduct described herein.

          162.   Defendants’ conduct was also fraudulent, misleading, or likely to deceive the

public.

          163.   Defendants’ misrepresentations and concealment of material facts were made

with the knowledge of their effect, and were done to induce Plaintiffs’ medical providers to

prescribe and Plaintiff to purchase the INRatio Products. Plaintiffs and/or their respective

medical providers saw and justifiably relied on Defendants’ misrepresentations and

concealment of material facts on the marketing and promotional materials, as well as the

packaging, when recommending, purchasing or using the INRatio Products.
          164.   Defendants further violate the consumer protection laws by making partial

representations while suppressing and actively concealing material facts. In particular,

Defendants represented, in advertisements and promotional materials, that the INRatio

Products were “accurate,” “convenient,” “effective,” “reliable,” “optimal” and “safe,” while

failing to disclose to consumers that the INRatio Products produced false and erroneous

results. Defendants also improperly named certain INRatio Products “INRatio Monitors,”

leading healthcare professionals and consumers to reasonably believe the INRatio Products

allowed users to safely and reliably monitor their INRs. Additionally, in their recall notices,
Defendants falsely represented to consumers that the cause of the defective qualities of the

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INRatio Products was limited to the INRatio2 PT/INR test strips, as well as “certain medical

conditions” and the failure to “carefully follow the instructions.”

       165.   Defendants’ conduct is malicious, fraudulent, and wanton, and Defendants

intentionally mislead and actively concealed material information from consumers in order

to increase the sales of the INRatio Products.

       166.   By violating the UCL in the manner described herein, Defendants prevented

healthcare professionals and consumers from making informed decisions regarding the use

of the INRatio Products, and altered prescribing physicians’ decisions concerning their

patients’ use of the products. Had prescribing physicians known that the INRatio Products

produced false and erroneous results, they would not have prescribed the INRatio Products.

       167.   Plaintiffs would not have purchased and used the INRatio Products had it not

been for Defendants’ misrepresentations and concealment of material facts. Nor would

Plaintiffs have improperly adjusted their blood-thinner dosages based on the results obtained

from the INRatio Products, and in doing so, increased the risk and likelihood of serious

injury and death. Plaintiffs have suffered injury in fact, and have lost money because of

Defendants’ fraudulent conduct.

       168.   Defendants’ misrepresentations and omissions alleged herein are objectively

material to the reasonable consumer, and they were material to Plaintiffs and their medical
providers. Reliance upon the misrepresentations and omissions discussed herein may

therefore be presumed as a matter of law. The materiality of such representations and

omissions also establishes causation between Defendants’ conduct and Plaintiffs’ injuries.

       169.   Defendants have thus engaged in unlawful, unfair, and fraudulent business

acts entitling Plaintiffs to remedies as provided by law.

                              EIGHTH CAUSE OF ACTION

                                 LOSS OF CONSORTIUM
       170.   Plaintiffs incorporate by reference in this claim for relief each allegation of
the preceding paragraphs, with the same force and effect as though fully set forth herein.

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       171.    At all times relevant hereto the Plaintiff’s spouse has suffered injuries and

losses because of Plaintiff’s injuries.

       172.    For the reasons set forth herein, Plaintiff’s spouse has necessarily paid and/or

have become liable to pay for medical aid, treatment and for medications, and will

necessarily incur further expenses of a similar nature in the future as approximate result of

Defendants’ misconduct.

       173.    For the reason set forth herein, Plaintiff’s spouse has suffered and will

continue to suffer damage to and/or the loss of their loved one’s support, companionship,

services, society and affection.

       174.    Plaintiff’s spouse has suffered great emotional pain and mental anguish.

       175.    As a direct and proximate result of Defendants’ wrongful conduct and failure

to comply with applicable standards, Plaintiff’s spouse has sustained and will continue to

sustain severe emotional distress, economic losses, and other damages for which they are

entitled to compensatory and equitable damages in an amount to be proven at trial.

Defendants are liable to Spouse Plaintiffs for all general and special damages to which

Plaintiff’s spouse is entitled by law.

DATED: November 30, 2017                    Respectfully submitted,

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                                            P.C.

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                               DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a jury trial on all counts in this Complaint.

DATED: November 30, 2017                    Respectfully submitted,

                                            BAUM HEDLUND ARISTEI & GOLDMAN,
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